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July 224, 2021

Magistrate Judge Stewart D. Aaron

Southern District of New York

Daniel Patrick Moynihan

United States District Court

500 Pearl Street - Courtroom 11C

New York, New York 10007
Re: Antolini vs. McCloskey, et al
Case No.: 1:19-cv-09038-GBD

Dear Magistrate Judge Aaron,

Further to my letter to you this morning and your subsequent Order, | spoke with
defense counsel and proposed either conducting the deposition tomorrow afternoon by
phone or scheduling a new date that would be mutually agreeable. He does not consent
to the telephone proposal and did not respond to the scheduling of a new date.

As such, Plaintiff respectfully asks for a very brief extension of time to allow for Plaintiff
and his counsel to make the appropriate arrangements to accommodate the remaining
time of Mr. Antolini’s deposition on video.

Thank you for your time.

 

To all via ECF
